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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 STATE OF NEW YORK, et al.,

                        Plaintiffs,

         v.                                              Case No. 1:25-cv-10601-MJJ

LINDA McMAHON, in her official
capacity as Secretary of Education, et al.,

                        Defendants.




 SOMERVILLE PUBLIC SCHOOLS, et al.,

                        Plaintiffs,

         v.                                              Case No. 1:25-cv-10677-MJJ

DONALD J. TRUMP, in his official
capacity as President of the United States,
et al.,

                        Defendants.



                      STATUS REPORT REGARDING COMPLIANCE

       Defendants, through undersigned counsel, hereby file this Status Report documenting the

steps taken to date to comply with the Court’s preliminary injunctions of May 22, 2025. See ECF

No. 128, State of New York, et al. v. McMahon, et al., No. 1:25-cv-10601-MJJ; ECF No. 45,

Somerville Public Schools, et al. v. Trump, et al., No. 1:25-cv-10677-MJJ. Those preliminary

injunctions, which were entered by the Court at 10:30 a.m. on Thursday, May 22, required the

filing of a status report “within 72 hours of the date of entry of this Order, describing all steps the
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Agency Defendants have taken to comply with this Order, and every week thereafter until the

Department is restored to the status quo prior to January 20, 2025.” ECF No. 128 at 88; ECF No.

45 at 88. Consistent with the Court’s orders, Defendants submit this weekly status report. In

support of the status report, Defendants submit the attached declaration, which identifies the steps

the Department of Education has taken to date to comply with the Court’s preliminary injunctions.



Dated: June 24, 2025                          Respectfully submitted,

                                              BRETT A. SHUMATE
                                              Assistant Attorney General
                                              Civil Division

                                              ERIC J. HAMILTON
                                              Deputy Assistant Attorney General
                                              Civil Division

                                              /s/ Brad P. Rosenberg
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                                  CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants.

Dated: June 24, 2025




                                                  /s/ Brad P. Rosenberg
                                                  BRAD P. ROSENBERG
                                                  Special Counsel
